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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF ILLINOIS

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 TERESA BRAND,                                                     3:16-cv-00431-SMY-DGW

                   Plaintiff,

          v.

 OTTAWA REGIONAL HOSPITAL AND                                      PLAINTIFF’S SECOND MOTION
 HEALTHCARE CENTER d/b/a OSF SAINT                                 FOR LEAVE TO AMEND THE
 ELIZABETH MEDICAL CENTER; OTTAWA                                  COMPLAINT
 REGIONAL MEDICAL CENTER, INC.; and
 OSF HEALTHCARE SYSTEM,

                   Defendants.


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         Plaintiff Teresa Brand, through her undersigned counsel, hereby respectfully moves this

Court for leave to submit an Amended Complaint pursuant to Fed. R. Civ. P. 15(a)(2).
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                                         BACKGROUND

        Plaintiff is a deaf individual who initiated this lawsuit by filing a Complaint (Doc. 1) on

April 18, 2016, against Defendants Saint Elizabeth’s Hospital of the Hospital Sisters of the Third

Order of St. Francis, and Hospital Sisters Health System (hereinafter collectively “St. Elizabeth’s

Hospital”). After learning that Defendants had no record of treating Plaintiff and investigating the

matter further, Plaintiff sought leave of the Court to amend the Complaint in order to name the

correct parties. See Doc. 10. On, August 15, 2016, the Court granted Plaintiff’s Motion to Amend

and Plaintiff filed her amended complaint on the same date. See Doc. 14. Plaintiff served the

correct parties on August 26, 2016. Thereafter, Defendants’ counsel contacted Plaintiff’s counsel

regarding the proper parties of the suit. After conferring with Defendants’ counsel, Plaintiff

learned based on representations by defense counsel the urgent care center visited by Plaintiff, as

alleged in the amended complaint, is operated by OSF Multi-Specialty Group and that Defendant,

Ottawa Regional Medical Center, Inc., is a business corporation that does not operate the hospital.

After further discussion, the parties agreed that Plaintiff would seek leave to file a second amended

complaint for the sole purpose of substituting OSF Multi-Specialty Group for Ottawa Regional

Medical Center, Inc. Defendants do not object to Plaintiff’s request to amend the complaint and

have indicated that they will need only seven days after the second amended complaint is filed to

answer.

        Now, in the interests of justice, Plaintiff moves for permission to amend her Complaint to

dismiss one Defendant, Ottawa Regional Medical Center, Inc., and to name OSF Multi-Specialty

Group as the proper party.

                                           ARGUMENT

   I.      The Court Should Grant Leave to Amend.
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       As set forth above, Plaintiff served Defendants on August 26, 2016. Defendants sought

leave of the Court for an extension of time to answer the complaint, which was granted, ordering

Defendants to file responsive pleadings by October 14, 2016. As such, to date, Defendants have

not responded to the Complaint. Since it has been more than 21 days since Plaintiff served the

Amended Complaint, and since there are no responsive pleadings or motions that would otherwise

allow for amendment as of right pursuant to Fed. R. Civ. P. 15(a)(1), Plaintiff now seeks leave of

Court to amend the Complaint pursuant to Fed. R. Civ. P. 15(a)(2), which directs that “[t]he court

should freely give leave when justice so requires.” Here, justice requires that Plaintiff be permitted

to amend the Complaint to name the correct party so that her case can be resolved on the merits

and for the amendment to relate back to the date when the original Complaint was filed. See Joseph

v. Elan Motorsports Technologies Racing, 638 F. 3d 555, 558 (7th Cir. 2011).1 As Plaintiff seeks

this amendment before Defendants have filed an answer and as soon and Plaintiff and Defendants

came to an agreement regarding substituting OSF Multi-Specialty Group for Ottawa Regional

Medical Center, Inc, Plaintiff has not unduly delayed seeking leave to amend. Additionally, as

Defendants themselves notified Plaintiff that OSF Multi-Specialty Group is the entity that operates

the urgent care facility where Plaintiff was treated, Plaintiff’s proposed amendment, substituting

OSF Multi-Specialty Group for Ottawa Regional Medical Center, Inc., will not unduly prejudice

Defendants. See Durden v. Semafore Pharms., Inc., No. 1:10-cv-554-WTL-TAB, 2011 U.S. Dist.

LEXIS 57575 (S.D. Ind. May 25, 2011).




1
 The Amended Complaint has been emailed to the judges of record pursuant to Local Civil Rule
15.1.
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                                           CONCLUSION

       The Court should grant Plaintiff leave to submit her Amended Complaint, and should then

transfer this action to the United States District Court for the Northern District of Illinois.



                                       Respectfully submitted,


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